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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  NORTHERN DIVISION
                                      (at Covington)

 UNITED STATES OF AMERICA,                           )
                                                     )
         Plaintiff,                                  )      Criminal Action No. 2: 11-71-DCR
                                                     )
 V.                                                  )
                                                     )
 STEPHANIE FARIELLO,                                 )         MEMORANDUM OPINION
                                                     )             AND ORDER
         Defendant.                                  )

                                         *** *** *** ***

        Defendant Stephanie Fariello is currently serving a term of imprisonment of 87

months based on her involvement in a conspiracy to distribute oxycodone. [Record No. 249]

This matter is currently pending on consideration of Fariello’s request for relief pursuant to

18 U.S.C. § 3582(c)(2) based on recent changes in the drug tables used to determine non-

binding guideline ranges for incarceration applicable to certain federal drug offenses.1

[Record No. 294] For the reasons outlined below, Fariello’s motion will be denied.




1       Fariello’s request is contained in a letter dated October 14, 2014, which the Court has construed
as a motion seeking relief under 18 U.S.C. § 3582(c)(2). [Record No. 294] Although counsel has not
been requested, the Court notes that there is no constitutional right to counsel or to a hearing in
proceedings filed under 18 U.S.C. § 3582(c)(2). United States v. Whitebird, 55 F.3d 1007 (5th Cir. 1995);
United States v. Townsend, 98 F.3d 510 (9th Cir. 1996); United States v. Webb, 565 F.3d 789 (11th Cir.
2009); and United States v. Legree, 205 F.3d 724 (4th Cir. 2000), cert. denied, 531 U.S. 1080 (2001).

        A motion filed under 18 U.S.C. § 3582(c)(2), “is simply a vehicle through which appropriately
sentenced prisoners can urge the court to exercise leniency to give [them] the benefits of an amendment to
the U.S. Sentencing Guideline Manual. As such, it does not entitle [a prisoner] to appointed counsel.”
Townsend, 98 F.3d at 513 (citing Whitebird, 55 F.3d at 1011). Instead, the district court has discretion to
determine whether appointment of counsel is warranted. Where, as here, the record and information
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       On November 10, 2011, a seven-count Indictment was returned against Stephanie

Fariello and six other defendants. Fariello was charged in Count 1 with conspiracy to

distribute oxycodone in violation of 21 U.S.C. § 846. She was also charged in Count 3 with

aiding and abetting the distribution of oxycodone in violation of 21 U.S.C. § 841 and 18

U.S.C. § 2. [Record No. 1] On February 9, 2012, a superseding Indictment was returned,

but the charges remained the same against Fariello. [Record No. 102] Fariello subsequently

pleaded guilty to Count 1 of the superseding Indictment.


       Paragraph 3 of the written Plea Agreement summarizes Fariello’s role in the

conspiracy. It states:


       (a) From approximately June 2010 and continuing through June 23, 2011, the
       Defendant conspired with Doug Dischar, Joshua Prewitt, Daniel Cahill, Megan
       Johnston, Bonnie Rademaker, Ryan Venable, Jerry Broome, Daniel Stevens,
       and others to distribute oxycodone, a Schedule II controlled substance, in the
       Eastern District of Kentucky.

       (b) Over the course of several months, the Northern Kentucky Drug Strike
       Force (NKDSF) utilized a confidential informant (CI) to make several
       controlled purchases of oxycodone from the individuals named above. The
       purchases occurred in Kenton County and all of the substances were tested and
       found to contain oxycodone, a Schedule II controlled substance.

       (c) On February 3, 2011, the CI contacted Dischar and arranged to buy 2
       oxycodone 30 milligram pills for $40. The CI ultimately purchased the pills
       from Joshua Prewitt, at Dishcar’s residence in Elsmere, Kentucky, where he
       lived with the Defendant.

       (d) On February 8, 2011, the CI contacted Dischar and arranged to buy 10
       oxycodone pills. The CI gave Dischar $200 upfront and Dischar indicated the
       pills would be arriving the following day. Over the next 2 days, the CI
       inquired about the status of the pills, and was advised by Prewitt that they

possessed by the Court from the original sentencing is sufficient to consider any motion filed under 18
U.S.C. § 3582(c)(2), appointment of counsel would be unnecessary and a waste of resources.

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     would not be arriving until February 11, 2011 (Prewitt gave the CI the tracking
     number for the package, which was arriving from Florida, as confirmation).
     The pills actually arrived on February 10. On that date, the CI went to
     Dischar’s house and met the Defendant (Dischar’s girlfriend), who handed the
     CI a plastic baggie containing 10 oxycodone pills.

     (e) On May 25, 2011, the CI purchased an additional 10 oxycodone pills from
     Dischar for $300. The exchange took place inside the CI’s vehicle, down the
     street from Dischar’s house. Dischar indicated that he was expecting a large
     shipment that day, but only received 100 and had approximately 40 left.

     (f) On June 21, 2011, the CI again purchased 10 oxycodone pills from Dischar
     for $300. The exchange took place in the parking lot of Friday's restaurant,
     located in Crestview Hills. Dischar agreed to sell the CI 20-25 more pills the
     following day for a reduced price.

     (g) On June 22, 2011, the NKDSF obtained and executed a search warrant on
     Dischar's residence. Agents recovered 277 oxycodone pills, over $3,000, and
     drug paraphernalia, including a pill cutter, grinder, and scale. Dischar agreed
     to be interviewed and acknowledged receiving pills for distribution through
     the mail. Dischar identified Jerry Broome and Daniel Stevens, both from
     Florida, as his sources of supply. According to Dischar, he would deposit
     money into a bank account for Broome, who would then withdraw it and mail
     the pills. He would do the same with Stevens, as well as conceal money inside
     electronics that were then mailed to Stevens. According to Dischar, he
     received 100-500 oxycodone 30 milligram pills every week for the past year.
     He stated that he also obtained pills from physicians in Florida. Dischar also
     acknowledged using other people to make sales, deposit money, and/or receive
     packages for him. These individuals included, but were not limited to, the
     Defendant, Joshua Prewitt, Megan Johnston, Daniel Cahill, Bonnie
     Rademaker, and Ryan Venable.

     (h) That same day, Dischar made a monitored and recorded phone call to Jerry
     Broome to arrange for the delivery of 50 oxycodone pills for $750. NKDSF
     deposited the money into a PNC account in the name of Jerry Broome. The
     pills were shipped by Broome via USPS on June 23, 2011 and the package
     (containing 50 oxycodone pills) was intercepted by USPIS.

     (i) Dischar also made a monitored and recorded phone call to Daniel Stevens.
     During the call, Stevens told Dischar to let him know when he's ready, and
     talked about “getting the next ones.”

     (j) The Defendant acknowledges assisting Dischar in the distribution of
     oxycodone by making sales, depositing money that was payment for pills, and
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       receiving packages containing pills for distribution. From April 2010 and
       continuing through June 2011, Dischar obtained approximately 15,000 pills
       for distribution.

[Record No. 247, p. 2–3]

       Following her initial appearance and arraignment, Fariello was released on bond and

ordered to participate in substance abuse aftercare. However, bond was ultimately revoked

after the defendant violated her conditions by using narcotics and continuing to communicate

with individuals named in the Indictment. [Record No. 58]

       Fariello was sentenced on July 30, 2012. There were no objections to the defendant’s

Presentence Investigation Report (“PSR”). The Base Offense Level was determined to be 34

under the United States Sentencing Guidelines. Fariello received a two-level reduction under

the safety valve (U.S.S.G. § 5C1.2(a)) and a three-level reduction for acceptance of

responsibility under U.S.S.G. § 3E1.1. [PSR, p. 7] As a result, her Total Offense Level was

29 and her non-binding guideline range for imprisonment was 87 to 108 months. [Id., pp. 7,

24]

       During allocution, Fariello’s counsel requested a further reduction to the guideline

range based on the defendant’s limited role in the conspiracy under U.S.S.G. § 3B1.2.

However, after considering the evidence outlined in the PSR and presented during the

sentencing hearing, the Court denied the request. Her counsel further argued that Fariello’s

youth (she was 17 when the conspiracy began and 20 at the time of sentencing) supported a

sentence below the guideline range.

       All relevant factors of Title 18 of the United States Code, Section 3553, were

carefully considered when evaluating sentence to be imposed (i.e., the serious nature of the

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offense, the history and characteristics of the defendant, the detrimental impact such crimes

have on the public, Fariello’s need for rehabilitation, and the need for adequate general and

specific deterrence to future criminal conduct). And while the Court acknowledged that

vocational training and drug treatment would be essential to preparing Fariello to become a

productive member of society, the undersigned determined that a term of incarceration of 87

months was necessary under the circumstances presented. These circumstances have not

changed. The Court continues to believe that the term of incarceration originally imposed is

sufficient, but not greater than necessary, to meet all statutory goals of sentencing as outlined

in 18 U.S.C. § 3553(a). While the Court has discretion to reduce Fariello’s sentence based

on the recent changes in the United States Sentencing Guidelines, any reduction would not

be warranted for the reasons explained during the July 30, 2012 sentencing hearing. Instead,

it would unduly diminish the seriousness of Fariello’s criminal conduct. Accordingly, it is

hereby

         ORDERED that the request contained in Defendant Stephanie Fariello’s letter,

construed as a motion to reduce her sentence pursuant to 18 U.S.C. § 3582(c) [Record No.

294], is DENIED.

         This 21st day of November, 2014.




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